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IN THE UNITED STATES DISTRICT COURT 4
FOR THE SOUTHERN DISTRICT OF NEW ¥QRK. oS SAU oP

MDL No: 03-1570 {68 0)
IN RE: TERRORIST ATTACKS “
ON SEPTEMBER 11, 2001

REABTES To: O3¢v 9849 (Gray
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MOTION FOR ADMISSION PRO HAC VICE

Defendants Saleh Abdullah Kamel, Al Baraka Investment & Development Corp.,
International Islamic Relief Organization of Saudi Arabia, Muslim World League, Wa’el
Juladain, and Rabita Trust, through the undersigned counsel and upon the annexed
Affadavit and exhibit, hereby moves this Court for an Order pursuant to Local Civil Rule

1.3 (c) admitting James Vann pro hac vice to appear as their counsel.

SO ORDERED
Respectfully submitted,

5. Dink ,

anqt Martin McMahon,
HOM, GEORGE 3. DAI TELS Esq. (MM4389)
James Vann
Fu * 8 ao) (3V4064)
Martin F.
McMahon &
Associates
1150 Connecticut
Ave,, N.W,
Suite 900
Washington D.C.
20036
(202) 862-4343

